 HAULING &CAYO                   'ATTORNEYS      AT   LAW



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                                             July 12, 2019
VIA ECF
The Honorable David E. Jones
United States Magistrate Judge
United States Federal Building and
Courthouse
517 E. Wisconsin Avenue
Milwaukee, WI 53202

       Re:    Stark master Fund, Ltd. et al. v. Credit Suisse Securities(USA)LLC,
              Case No, 14-CV-689


Dear Judge Jones:

        We represent the Plaintiffs in this matter. We respectfully write to inquire about
the status of the pending Motion for Summary Judgment (Dkt. 159)by Defendant Credit
Suisse, which was orally argued to the Court on November 8, 2017.

                                             Very truly yours,

                                             BALLING &CAYO,S.C.

                                             /s/ Michael H. Schaalman


                                             Michael H. Schaalman
                                             State Bar No. 1015424


MHS:msb
cc:    All Counsel (via ECF)




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